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                                                                Monday, 15 January, 2018 02:04:36 PM
                                                                        Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )        Case No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
       Defendant.                         )

                       MOTION FOR A BILL OF PARTICULARS

       Count One of the Superseding Indictment charges that the defendant, Brent

Christensen, used a Motorola cellular phone to commit the substantive offense of

kidnapping. No other detail is given. Through undersigned counsel, Mr. Christensen

moves the Court for an Order directing the Government to file a bill of particulars,

identifying the time, date and method of usage (phone call, text message, instant

messaging, internet) of defendant’s Motorola phone that is referenced in Count One.

       The government confiscated multiple electronic devices pursuant to search

warrants in this case, including three cell phones belonging to Brendt Christensen. All

of the electronic data, which includes cell phone extractions and mirror images of

computer hard drives, adds up to approximately 3 terabytes. Each cell phone extraction

was performed using the Cellebrite mobile forensics system. As counsel understands

the process, the physical extraction of the data involves a bit-by-bit copy of the entire

flash memory of each mobile device. This extraction method not only enables the

acquisition of intact data, but also data that is hidden or has been deleted. When


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viewing a full extraction report, the viewer can see a timeline of the phone's entire

existence from activation to extraction, including call logs, contacts, SMS messages,

MMS messages, chats, emails, photographs, and more. Each of the phones contain a

significant amount of data.

       As set out in defendant’s Motion to Dismiss Count One, at pp. 9-10, filed this date,

defendant is unaware of any evidence that Mr. Christensen used this phone in

commission of the substantive offense charged in Count One. Counsel has seen no

evidence in discovery suggesting that Mr. Christensen had any contact with the victim,

Yingying Zhang, at any time either by phone or internet, that he used the Motorola

phone to make any ransom, reward or other demand for financial benefit or that he

conferred with any confederate by means of the phone.

       F.R.Cr.P. 7(f) provides that “[t]he court may direct the government to file a bill of

particulars.” Prior to 1966, a showing of cause was required but this requirement was

eliminated “to encourage a more liberal attitude by the courts toward bills of particulars

without taking away the discretion which courts must have in dealing with such

motions in individual cases.” Id. Advisory Committee Notes, 1966 Amendments. A bill

of particulars is “appropriate to permit a defendant to identify with sufficient

particularity the nature of the charge against him, thereby enabling defendant to

prepare for trial, to prevent surprise, and to interpose a plea of double jeopardy should

he be prosecuted for the same offense. United States v. Davidoff, 845 F.2d 1151, 1154 (2d

Cir. 1988), quoting United States v Bortnovsky, 820 F.2d 572, 574 (2d Cir. 1987).




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       All these purposes will be served here. The government has alleged that Mr.

Christensen used his cellphone to commit the charged offense in the vaguest and most

non-specific manner possible. There is no specification when or how Mr. Christiansen

used this cellphone to commit this offense. This complete absence of specification

deprives Mr. Christensen of a meaningful opportunity to prepare a defense at trial or

for this Court to rule on his Motion to Dismiss Count One. There is simply no way for

counsel to know which of presumptively hundreds, if not thousands, of data points that

are embedded in the phone, including phone, text messages, chats, e-mails or other

possible usage of the phone that Count One is referencing.

       Courts have reversed convictions for the failure to order a bill of particulars

where the government has couched its charges in such generalities. In United States v.

Bortnovsky, 820 F.2d 527 (2d Cir. 1987), the government alleged that the defendant filed

false insurance claims for burglaries and fires which had not occurred but the

indictment did not specify the dates of the staged burglaries or identify which of the

numerous document were falsified. After the trial court denied the defendant’s request

for a bill of particulars, the Second Circuit reversed, holding that the defendants had

been “hindered in preparing their defense” by the trial court’s failure to require the

government to disclose this information. The appellate court noted that “[i]n effect, the

burden of proof impermissibly was shifted to the defendants to show which allegations

were false. See also United States v. Cefalu, 234 F.2d 522, 524 (10th Cir. 1956) (noting the

indictment must “sufficiently apprise[] [the defendant] of the nature of the specific

charge to enable him adequately to prepare his defense,” the court reverses defendant’s


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conviction for failing to order a bill of particulars where the indictment charged jury

tampering but failed to specify which of the approximately 100 jurors were tampered

with); United States v. Davidoff, 845 F.2d 1151 (2d Cir. 1988) (reversing RICO conviction

because of failure to provide bill of particulars).

       Here, the indictment alleges Mr. Christensen used his cellphone to commit the

offense but there is no way for the defense to adequately prepare a defense to this

allegation without specification of precisely when and how he allegedly used his phone

to commit the charged offense. To cure this defect and allow the defense to adequately

prepare, Mr. Christensen requests that the Court order the government to file a bill of

particulars, identifying the particular uses of the Motorola telephone that form the basis

of the allegation in Count One.

                                    Respectfully submitted,

                                    BRENDT A. CHRISTENSEN, Defendant

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                              CERTIFICATE OF SERVICE

      I hereby certify that on January 15, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller. A copy

was also mailed to the defendant.

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